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                                                 24

 Fill in this information to identify the case:

                      Shoreview Apartments LLC
 Debtor name ____________________________ _____ _____ _____ ______ _____ _____ _____ _

                                                       Western
 United States Bankruptcy Court f or the: _______________________ District of ________                          Texas
                                       25-10567
                                                                                                                 (State)
 Case number (If known):              _________________________


                                                                                                                                                                                               Check if this is an
                                                                                                                                                                                                 amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                        12/15




Part 1:          Summary of Assets


1.   Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

     1a. Real property:
                                                                                                                                                                                                0
                                                                                                                                                                                              $ ________________
           Copy line 88 from Schedule A/B .....................................................................................................................................

     1b. Total personal property:                                                                                                                                                               0
                                                                                                                                                                                              $ ________________
           Copy line 91A from Schedule A/B...................................................................................................................................

     1c. Total of all property:                                                                                                                                                                 0
                                                                                                                                                                                              $ ________________
           Copy line 92 from Schedule A/B .....................................................................................................................................




Part 2:          Summary of Liabilities




     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                                                                13,050,000
2.
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D..............................................                                                $ ________________


3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim am ounts of priority unsecured claim s:
                                                                                                                                                                                                0
                                                                                                                                                                                              $ ________________
           Copy the total claims from Part 1 from line 5a of Schedule E/F ....................................................................................

     3b. Total am ount of claims of nonpriority am ount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F .........................................................
                                                                                                                                                                                                0
                                                                                                                                                                                            + $ ________________



4.   Total liabilities...................................................................................................................................................................       13,050,000
                                                                                                                                                                                              $ ________________
     Lines 2 + 3a + 3b




 Official Form 206Sum                                       Sum m ary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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                                               24
  Fill in this information to identify the case:

               Shoreview Apartments LLC
  Debtor name __________________________________________________________________

                                         Western                               Texas
  United States Bankruptcy Court for the:_______________________ District of ________
                                                                             (State)
  Case number (If known):     25-10567
                             _________________________                                                                                Check if this is an
                                                                                                                                         amended filing


Official Form 206A/B
Schedule A/B: Assets — Real and Personal Property                                                                                                  12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.


For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


Part 1:    Cash and cash equivalents

1. Does the debtor have any cash or cash equivalents?

    No. Go to Part 2.
    Yes. Fill in the information below.
    All cash or cash equivalents owned or controlled by the debtor                                                                 Current value of debtor’s
                                                                                                                                   interest

2. Cash on hand                                                                                                                    0
                                                                                                                                  $______________________

3. Checking, savings, money market, or financial brokerage accounts (Identify all)

   Name of institution (bank or brokerage firm)                Type of account                  Last 4 digits of account number
   3.1. _________________________________________________ ______________________                ____ ____ ____ ____               $______________________
   3.2. _________________________________________________ ______________________                ____ ____ ____ ____               $______________________


4. Other cash equivalents (Identify all)
   4.1. _____________________________________________________________________________________________________                     $______________________
   4.2. _____________________________________________________________________________________________________                     $______________________

5. Total of Part 1                                                                                                                 0
                                                                                                                                  $______________________
   Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



Part 2:    Deposits and prepayments

6. Does the debtor have any deposits or prepayments?

    No. Go to Part 3.
    Yes. Fill in the information below.
                                                                                                                                    Current value of
                                                                                                                                    debtor’s interest
7. Deposits, including security deposits and utility deposits

   Description, including name of holder of deposit
   7.1. ________________________________________________________________________________________________________                    0
                                                                                                                                   $______________________
   7.2._________________________________________________________________________________________________________                    0
                                                                                                                                   $_______________________


  Official Form 206A/B                                    Schedule A/B: Assets  Real and Personal Property                                    page 1
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Debtor        Shoreview Apartments LLC
             _______________________________________________________24                       25-10567
                                                                       Case number (if known)_____________________________________
               Name




8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
   Description, including name of holder of prepayment
   8.1.___________________________________________________________________________________________________________                  0
                                                                                                                                  $______________________
   8.2.___________________________________________________________________________________________________________                $_______________________

9. Total of Part 2.
                                                                                                                                  0
                                                                                                                                 $______________________
   Add lines 7 through 8. Copy the total to line 81.



Part 3:    Accounts receivable

10. Does the debtor have any accounts receivable?

     No. Go to Part 4.
     Yes. Fill in the information below.
                                                                                                                                  Current value of debtor’s
                                                                                                                                  interest
11. Accounts receivable

    11a. 90 days old or less:    ____________________________ – ___________________________          = ........                 $______________________
                                  face amount                   doubtful or uncollectible accounts

    11b. Over 90 days old:        ___________________________ – ___________________________          = ........                 $______________________
                                   face amount                  doubtful or uncollectible accounts


12. Total of Part 3                                                                                                               0
                                                                                                                                 $______________________
    Current value on lines 11a + 11b = line 12. Copy the total to line 82.


Part 4:    Investments

13. Does the debtor own any investments?
     No. Go to Part 5.
     Yes. Fill in the information below.
                                                                                                        Valuation method          Current value of debtor’s
                                                                                                        used for current value    interest

14. Mutual funds or publicly traded stocks not included in Part 1
   Name of fund or stock:
   14.1. ________________________________________________________________________________               _____________________    $________________________
   14.2. ________________________________________________________________________________               _____________________    $________________________



15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
    including any interest in an LLC, partnership, or joint venture

   Name of entity:                                                                 % of ownership:
        Shoreview Holding LLC
   15.1._______________________________________________________________             100
                                                                                   ________%            _____________________      Unknown
                                                                                                                                 $________________________
   15.2._______________________________________________________________            ________%            _____________________    $________________________

16. Government bonds, corporate bonds, and other negotiable and non-negotiable
    instruments not included in Part 1
 Describe:
   16.1.________________________________________________________________________________                ______________________   $_______________________
   16.2.________________________________________________________________________________                ______________________   $_______________________



17. Total of Part 4                                                                                                               0
                                                                                                                                 $______________________
    Add lines 14 through 16. Copy the total to line 83.



Official Form 206A/B                                        Schedule A/B: Assets  Real and Personal Property                                 page 2
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Debtor        Shoreview Apartments LLC
             _______________________________________________________24                       25-10567
                                                                       Case number (if known)_____________________________________
               Name




Part 5:    Inventory, excluding agriculture assets

18. Does the debtor own any inventory (excluding agriculture assets)?
     No. Go to Part 6.
     Yes. Fill in the information below.
     General description                            Date of the last     Net book value of     Valuation method used     Current value of
                                                    physical inventory   debtor's interest     for current value         debtor’s interest
                                                                         (Where available)
19. Raw materials
   ________________________________________         ______________                                                      $______________________
                                                    MM / DD / YYYY
                                                                         $__________________   ______________________

20. Work in progress
   ________________________________________         ______________                                                      $______________________
                                                    MM / DD / YYYY
                                                                         $__________________   ______________________

21. Finished goods, including goods held for resale
   ________________________________________         ______________                                                      $______________________
                                                    MM / DD / YYYY
                                                                         $__________________   ______________________

22. Other inventory or supplies
   ________________________________________         ______________                                                      $______________________
                                                    MM / DD / YYYY
                                                                         $__________________   ______________________


23. Total of Part 5                                                                                                      0
                                                                                                                        $______________________
    Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?
     No
     Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

     No
     Yes. Book value _______________            Valuation method____________________ Current value______________
26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
     No
     Yes
Part 6:     Farming and fishing-related assets (other than titled motor vehicles and land)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
     No. Go to Part 7.
     Yes. Fill in the information below.
      General description                                                Net book value of     Valuation method used     Current value of debtor’s
                                                                         debtor's interest     for current value         interest
                                                                         (Where available)
28. Crops—either planted or harvested
   ______________________________________________________________         $________________     ____________________    $______________________

29. Farm animals Examples: Livestock, poultry, farm-raised fish
   ______________________________________________________________         $________________     ____________________    $______________________

30. Farm machinery and equipment (Other than titled motor vehicles)
   ______________________________________________________________         $________________     ____________________    $______________________

31. Farm and fishing supplies, chemicals, and feed

   ______________________________________________________________         $________________     ____________________    $______________________

32. Other farming and fishing-related property not already listed in Part 6

   ______________________________________________________________         $________________     ____________________    $______________________


Official Form 206A/B                                      Schedule A/B: Assets  Real and Personal Property                          page 3
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Debtor        Shoreview Apartments LLC
             _______________________________________________________24                       25-10567
                                                                       Case number (if known)_____________________________________
               Name




33. Total of Part 6.                                                                                                         0
                                                                                                                            $______________________
    Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?

     No
     Yes. Is any of the debtor’s property stored at the cooperative?
       No
       Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

     No
     Yes. Book value $_______________ Valuation method ____________________ Current value $________________
36. Is a depreciation schedule available for any of the property listed in Part 6?

     No
     Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

     No
     Yes

Part 7:     Office furniture, fixtures, and equipment; and collectibles

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No. Go to Part 8.
     Yes. Fill in the information below.

   General description                                                        Net book value of    Valuation method          Current value of debtor’s
                                                                              debtor's interest    used for current value    interest
                                                                              (Where available)

39. Office furniture
   ______________________________________________________________              $________________   ____________________     $______________________
                                                                                                                                  Unknown
40. Office fixtures                Lender Liability Claim against Pearlmark filed in Illinois
                                Unknown
   ______________________________________________________________              $________________   ____________________     $______________________

41. Office equipment, including all computer equipment and
    communication systems equipment and software
   ______________________________________________________________              $________________   ____________________     $______________________

42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
    artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
    or baseball card collections; other collections, memorabilia, or collectibles
   42.1___________________________________________________________             $________________    ____________________    $______________________
   42.2___________________________________________________________             $________________    ____________________    $______________________
   42.3___________________________________________________________             $________________    ____________________    $______________________

43. Total of Part 7.
                                                                                                                             0
                                                                                                                            $______________________
    Add lines 39 through 42. Copy the total to line 86.

44. Is a depreciation schedule available for any of the property listed in Part 7?

     No
     Yes                                                                                                                     0

45. Has any of the property listed in Part 7 been appraised by a professional within the last year?

     No
     Yes

Official Form 206A/B                                        Schedule A/B: Assets  Real and Personal Property                            page 4
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 Debtor        Shoreview Apartments LLC
              _______________________________________________________24                       25-10567
                                                                                              25-10567
                                                                        Case number (if known)_____________________________________
                Name




Part 8: Machinery, equipment, and vehicles

46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No. Go to Part 9.
     Yes. Fill in the information below.

   General description                                                     Net book value of    Valuation method used    Current value of
                                                                           debtor's interest    for current value        debtor’s interest
   Include year, make, model, and identification numbers (i.e., VIN,
                                                                           (Where available)
   HIN, or N-number)


47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

   47.1___________________________________________________________          $________________   ____________________     0
                                                                                                                        $______________________

   47.2___________________________________________________________          $________________   ____________________    $______________________

   47.3___________________________________________________________          $________________   ____________________    $______________________

   47.4___________________________________________________________          $________________   ____________________    $______________________


48. Watercraft, trailers, motors, and related accessories Examples: Boats,
    trailers, motors, floating homes, personal watercraft, and fishing vessels
                                                                                                                         0
   48.1__________________________________________________________          $________________    ____________________    $______________________

   48.2__________________________________________________________          $________________    ____________________     0
                                                                                                                        $______________________

49. Aircraft and accessories

   49.1__________________________________________________________          $________________    ____________________     0
                                                                                                                        $______________________

   49.2__________________________________________________________          $________________    ____________________     0
                                                                                                                        $______________________

50. Other machinery, fixtures, and equipment (excluding farm
    machinery and equipment)

   ______________________________________________________________          $________________    ____________________     0
                                                                                                                        $______________________


                                                                                                                              0
51. Total of Part 8.                                                                                                     0
                                                                                                                        $______________________
    Add lines 47 through 50. Copy the total to line 87.



52. Is a depreciation schedule available for any of the property listed in Part 8?
     No
     Yes
53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
     No
     Yes




                                                                                                                          0




 Official Form 206A/B                                     Schedule A/B: Assets  Real and Personal Property                        page 5
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Debtor        Shoreview Apartments LLC
             _______________________________________________________24                       25-10567
                                                                                             25-10567
                                                                       Case number (if known)_____________________________________
               Name




Part 9:     Real property

54. Does the debtor own or lease any real property?
     No. Go to Part 10.
     Yes. Fill in the information below.
55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

    Description and location of property                   Nature and extent      Net book value of    Valuation method used    Current value of
    Include street address or other description such as    of debtor’s interest   debtor's interest    for current value        debtor’s interest
    Assessor Parcel Number (APN), and type of property     in property            (Where available)
    (for example, acreage, factory, warehouse, apartment
    or office building), if available.
    55.1________________________________________            _________________     $_______________     ____________________     $_____________________

    55.2________________________________________            _________________     $_______________     ____________________      0
                                                                                                                                $_____________________

    55.3________________________________________            _________________     $_______________     ____________________     $_____________________

    55.4________________________________________            _________________     $_______________     ____________________     $_____________________

    55.5________________________________________            _________________     $_______________     ____________________     $_____________________

    55.6________________________________________            _________________     $_______________     ____________________     $_____________________


56. Total of Part 9.                                                                                                             0
                                                                                                                                $_____________________
    Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.
                                                                                                                                 0
57. Is a depreciation schedule available for any of the property listed in Part 9?
     No
     Yes                                                                                                                        0
                                                                                                                                 0
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
     No
     Yes
Part 10: Intangibles and intellectual property
                                                                                                                                 0
59. Does the debtor have any interests in intangibles or intellectual property?
     No. Go to Part 11.                                                                                                              0
     Yes. Fill in the information below.                                                                                        0
   General description                                                           Net book value of    Valuation method         Current value of
                                                                                  debtor's interest    used for current value   debtor’s interest
                                                                                  (Where available)
60. Patents, copyrights, trademarks, and trade secrets
    ______________________________________________________________                $_________________   ______________________   $____________________

61. Internet domain names and websites
    ______________________________________________________________                $_________________   ______________________    $____________________

62. Licenses, franchises, and royalties
    ______________________________________________________________                $_________________   ______________________    $____________________

63. Customer lists, mailing lists, or other compilations
    ______________________________________________________________                $_________________   ______________________    $____________________

64. Other intangibles, or intellectual property
    ______________________________________________________________                 $________________   _____________________    $____________________
65. Goodwill
    ______________________________________________________________                 $________________   _____________________    $____________________

66. Total of Part 10.                                                                                                             0
                                                                                                                                $____________________
    Add lines 60 through 65. Copy the total to line 89.




Official Form 206A/B                                          Schedule A/B: Assets  Real and Personal Property                            page 6
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Debtor        Shoreview Apartments LLC
             _______________________________________________________24                       25-10567
                                                                       Case number (if known)_____________________________________
                Name




67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
                                                                                                                                  0
     No
     Yes
68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
     No
     Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
     No
     Yes
Part 11: All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.
     No. Go to Part 12.
     Yes. Fill in the information below.
                                                                                                                                 Current value of
                                                                                                                                   debtor’s interest
71. Notes receivable
    Description (include name of obligor)
                                                                      _______________ –   __________________________         =   $_____________________
    ______________________________________________________
                                                                      Total face amount   doubtful or uncollectible amount

72. Tax refunds and unused net operating losses (NOLs)

    Description (for example, federal, state, local)

    _________________________________________________________________________________
                                                                                                        Tax year ___________      $_____________________
    _________________________________________________________________________________
                                                                                                        Tax year ___________      $_____________________
    _________________________________________________________________________________
                                                                                                        Tax year ___________      $_____________________

73. Interests in insurance policies or annuities
    ______________________________________________________________                                                                $_______________________

74. Causes of action against third parties (whether or not a lawsuit
    has been filed)
    ______________________________________________________________
                                                                                                                                      Unknown
                                                                                                                                  $_______________________
    Nature of claim                    Lender Liability Claim against Pearlmark filed in Illinois
                                      ___________________________________

    Amount requested                    Unknown
                                      $________________

75. Other contingent and unliquidated claims or causes of action of
    every nature, including counterclaims of the debtor and rights to
    set off claims
    ______________________________________________________________                                                                $_______________________

    Nature of claim                   ___________________________________

    Amount requested                  $________________

76. Trusts, equitable or future interests in property

    ______________________________________________________________                                                                 $_____________________

77. Other property of any kind not already listed Examples: Season tickets,
    country club membership                                                                                                       0
   ____________________________________________________________                                                                   $_____________________
   ____________________________________________________________                                                                   $_____________________

78. Total of Part 11.
                                                                                                                                   0
                                                                                                                                  $_____________________
    Add lines 71 through 77. Copy the total to line 90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
     No
     Yes
Official Form 206A/B                                         Schedule A/B: Assets  Real and Personal Property                                page 7
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Debtor        Shoreview Apartments LLC
             _______________________________________________________24                       25-10567
                                                                                             25-10567
                                                                       Case number (if known)_____________________________________
                  Name




Part 12:         Summary



In Part 12 copy all of the totals from the earlier parts of the form.


       Type of property                                                                               Current value of                        Current value
                                                                                                      personal property                       of real property

80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                   $_______________


81. Deposits and prepayments. Copy line 9, Part 2.                                                       $_______________


82. Accounts receivable. Copy line 12, Part 3.                                                           $_______________
                                                                                                                                                                  0
83. Investments. Copy line 17, Part 4.                                                                   $_______________


84. Inventory. Copy line 23, Part 5.                                                                     $_______________


85. Farming and fishing-related assets. Copy line 33, Part 6.                                            $_______________

86. Office furniture, fixtures, and equipment; and collectibles.
                                                                                                         $_______________
     Copy line 43, Part 7.                                                                                                                                        0
87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                            $_______________
                                                                                                                                                                  0
88. Real property. Copy line 56, Part 9. . .....................................................................................            $________________


89. Intangibles and intellectual property. Copy line 66, Part 10.                                        $_______________
                                                                                                                                                                  0
90. All other assets. Copy line 78, Part 11.                                                        + $_______________                                            0

91. Total. Add lines 80 through 90 for each column. ............................ 91a.                    $_______________            + 91b. $________________
                                                                                                                                                                  0

                                                                                                                                                                    0
92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. ..............................................................................................   0$__________________




                                                                                                                                                                   0




Official Form 206A/B                                                       Schedule A/B: Assets  Real and Personal Property                                               page 8
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                                               24
  Fill in this information to identify the case:

              SHOREVIEW APARTMENTS LLC
  Debtor name __________________________________________________________________
                                          WESTERN
  United States Bankruptcy Court for the: ______________________             TEXAS
                                                                 District of _________
                                                                                        (State)
                                25-10567
  Case number (If known):      _________________________
                                                                                                                                                    Check if this is an
                                                                                                                                                       amended filing
 Official Form 206D
 Schedule D: Creditors Who Have Claims Secured by Property                                                                                                        12/15
 Be as complete and accurate as possible.

 1. Do any creditors have claims secured by debtor’s property?
     No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
     Yes. Fill in all of the information below.
 Part 1:       List Creditors Who Have Secured Claims
                                                                                                                              Column A                Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one
    secured claim, list the creditor separately for each claim.                                                               Amount of claim         Value of collateral
                                                                                                                              Do not deduct the value that supports this
                                                                                                                              of collateral.          claim
2.1 Creditor’s name                             Describe debtor’s property that is subject to a lien
       PMRP   V HOLDINGS  LLC                                                                            13,050,000
     __________________________________________   EQUITY INTEREST IN PLF SHOREVIEW LLC
                                                 ___________________________________________________ $__________________                                 13,050,000
                                                                                                                                                      $_________________

    Creditor’s mailing address                                  ___________________________________________________

        200 WEST MADISON STREET ST 2800
     ________________________________________________________   ___________________________________________________

        CHICAGO, IL 60606
     ________________________________________________________   Describe the lien
                                                                    EQUITY INTEREST LIEN
                                                                 __________________________________________________
    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                 No
                                                                 Yes
                           12/15/2021
    Date debt was incurred __________________                   Is anyone else liable on this claim?
    Last 4 digits of account
                                                                 No
    number                   ___ ___ ___ ___
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H).
    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.
     No                                                         Contingent
     Yes. Specify each creditor, including this creditor,       Unliquidated
             and its relative priority.                          Disputed
             ___________________________________
             ___________________________________

2.2 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     __________________________________________                 ___________________________________________________ $__________________               $_________________

    Creditor’s mailing address                                  ___________________________________________________
     ________________________________________________________   ___________________________________________________
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________
    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                 No
                                                                 Yes
    Date debt was incurred __________________                   Is anyone else liable on this claim?
    Last 4 digits of account
                                                                 No
    number                   ___ ___ ___ ___
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H).
    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

     No                                                         Contingent
     Yes. Have you already specified the relative               Unliquidated
             priority?                                           Disputed
         No. Specify each creditor, including this
                 creditor, and its relative priority.
                 _________________________________
                 _________________________________
            Yes. The relative priority of creditors is
                 specified on lines _____

 3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                13,050,000
                                                                                                                               $________________
    Page, if any.


   Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                            page 1 of ___
       25-10567-smr Doc#10 Filed 05/23/25 Entered 05/23/25 23:00:26 Main Document Pg 11 of
             SHOREVIEW APARTMENTS LLC                                                        25-10567
  Debtor    _______________________________________________________
            Name
                                                                   24 Case number (if known)_____________________________________



                                                                                                                              Column A                Column B
 Part 1:        Additional Page                                                                                               Amount of claim         Value of collateral
                                                                                                                              Do not deduct the value that supports this
                                                                                                                              of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2._ Creditor’s name                                             Describe debtor’s property that is subject to a lien

     __________________________________________                 ___________________________________________________
                                                                                                                              $__________________     $_________________
                                                                ___________________________________________________
    Creditor’s mailing address
                                                                ___________________________________________________
     ________________________________________________________

     ________________________________________________________   Describe the lien
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                 No
                                                                 Yes

    Date debt was incurred __________________                   Is anyone else liable on this claim?
                                                                 No
    Last 4 digits of account
    number                   ___ ___ ___ ___
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H).

    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

     No                                                         Contingent
     Yes. Have you already specified the relative               Unliquidated
               priority?                                         Disputed
            No. Specify each creditor, including this
                    creditor, and its relative priority.
                    _______________________________
                    _______________________________
                    _______________________________

            Yes. The relative priority of creditors is
                    specified on lines _____


2._ Creditor’s name                                             Describe debtor’s property that is subject to a lien


     __________________________________________
                                                                ___________________________________________________
                                                                                                                              $__________________     $_________________
    Creditor’s mailing address                                  ___________________________________________________

                                                                ___________________________________________________
     ________________________________________________________

     ________________________________________________________   Describe the lien
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                 No
                                                                 Yes
    Date debt was incurred __________________                   Is anyone else liable on this claim?
                                                                 No
    Last 4 digits of account
    number                   ___ ___ ___ ___
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H).

    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

     No                                                         Contingent
     Yes. Have you already specified the relative               Unliquidated
               priority?                                         Disputed
            No. Specify each creditor, including this
                    creditor, and its relative priority.
                    _______________________________
                    _______________________________
                    _______________________________

            Yes. The relative priority of creditors is
                    specified on lines _____



  Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page ___ of ___
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                                                 24
Debtor
                  SHOREVIEW APARTMENTS LLC
                 _______________________________________________________                                                                        25-10567
                                                                                                                         Case number (if known)_____________________________________
                 Name



Part 2:      List Others to Be Notified for a Debt Already Listed in Part 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection
agencies, assignees of claims listed above, and attorneys for secured creditors.

If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

                                                                                                                                     On which line in Part 1     Last 4 digits of
         Name and address
                                                                                                                                     did you enter the           account number
                                                                                                                                     related creditor?           for this entity
    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________


Form 206D                                Official Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                               page ___ of ___
        25-10567-smr Doc#10 Filed 05/23/25 Entered 05/23/25 23:00:26 Main Document Pg 13 of
   Fill in this information to identify the case: 24

   Debtor         Shoreview Apartments LLC
                 __________________________________________________________________
                                           Western                             Texas
   United States Bankruptcy Court for the: ______________________ District of __________
                                                                                              (State)
   Case number        25-10567
                     ___________________________________________
    (If known)

                                                                                                                                                   Check if this is an
                                                                                                                                                     amended filing
  Official Form 206E/F
  Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                             12/15
  Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
  unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
  on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
  (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
  the Additional Page of that Part included in this form.

 Part 1:         List All Creditors with PRIORITY Unsecured Claims

 1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
     No. Go to Part 2.
     Yes. Go to line 2.
 2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
    3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                       Total claim                Priority amount
2.1 Priority creditor’s name and mailing address                          As of the petition filing date, the claim is: $______________________   $_________________
     __________________________________________________________________   Check all that apply.
    ___________________________________________                            Contingent
                                                                           Unliquidated
    ___________________________________________                            Disputed
    Date or dates debt was incurred                                        Basis for the claim:
                                                                          __________________________________
    _________________________________

    Last 4 digits of account                                              Is the claim subject to offset?
    number      ___ ___ ___ ___                                            No
                                                                           Yes
    Specify Code subsection of PRIORITY unsecured
    claim: 11 U.S.C. § 507(a) (_____)


2.2 Priority creditor’s name and mailing address                          As of the petition filing date, the claim is: $______________________   $_________________
     __________________________________________________________________   Check all that apply.
    ___________________________________________                            Contingent
                                                                           Unliquidated
    ___________________________________________                            Disputed
    Date or dates debt was incurred                                        Basis for the claim:
                                                                          __________________________________
    _________________________________

    Last 4 digits of account                                              Is the claim subject to offset?
    number      ___ ___ ___ ___                                            No
                                                                           Yes
    Specify Code subsection of PRIORITY unsecured
    claim: 11 U.S.C. § 507(a) (_____)


2.3 Priority creditor’s name and mailing address                          As of the petition filing date, the claim is: $______________________   $_________________
     __________________________________________________________________   Check all that apply.
    ___________________________________________                            Contingent
                                                                           Unliquidated
    ___________________________________________                            Disputed
    Date or dates debt was incurred                                        Basis for the claim:
                                                                          __________________________________
    _________________________________

    Last 4 digits of account                                              Is the claim subject to offset?
    number      ___ ___ ___ ___                                            No
                                                                           Yes
    Specify Code subsection of PRIORITY unsecured
    claim: 11 U.S.C. § 507(a) (_____)




  Official Form 206E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                        page 1 of ___
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                                                                                              25-10567
  Debtor      _______________________________________________________   Case number (if known)_____________________________________
              Name                                                   24
 Part 1.       Additional Page


 Copy this page if more space is needed. Continue numbering the lines sequentially from the
 previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                              Total claim              Priority amount



2._    Priority creditor’s name and mailing address
                                                                                                                            $______________________   $_________________
                                                                            As of the petition filing date, the claim is:
                                                                            Check all that apply.
        _________________________________________________________________
                                                                             Contingent
                                                                             Unliquidated
       ___________________________________________                           Disputed
       ___________________________________________
       Date or dates debt was incurred                                       Basis for the claim:
                                                                            __________________________________
       _________________________________

       Last 4 digits of account                                             Is the claim subject to offset?
       number      ___ ___ ___ ___                                           No
                                                                             Yes
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a) (_____)


2._    Priority creditor’s name and mailing address
                                                                                                                            $______________________   $_________________
                                                                            As of the petition filing date, the claim is:
                                                                            Check all that apply.
                                                                             Contingent
                                                                             Unliquidated
        _________________________________________________________________

       ___________________________________________                           Disputed
       ___________________________________________
       Date or dates debt was incurred                                       Basis for the claim:
                                                                            __________________________________
       _________________________________

       Last 4 digits of account                                             Is the claim subject to offset?
       number      ___ ___ ___ ___                                           No
                                                                             Yes
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a) (_____)

2._    Priority creditor’s name and mailing address
                                                                                                                            $______________________   $_________________
                                                                            As of the petition filing date, the claim is:
                                                                            Check all that apply.
        _________________________________________________________________    Contingent
       ___________________________________________
                                                                             Unliquidated
                                                                             Disputed
       ___________________________________________
       Date or dates debt was incurred                                       Basis for the claim:
                                                                            __________________________________
       _________________________________
       Last 4 digits of account                                             Is the claim subject to offset?
       number      ___ ___ ___ ___                                           No
                                                                             Yes
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a) (_____)

2._    Priority creditor’s name and mailing address
                                                                            As of the petition filing date, the claim is: $______________________     $_________________
                                                                            Check all that apply.
        _________________________________________________________________    Contingent
       ___________________________________________                           Unliquidated
                                                                             Disputed
       ___________________________________________
       Date or dates debt was incurred                                       Basis for the claim:
                                                                            __________________________________
       _________________________________

       Last 4 digits of account                                             Is the claim subject to offset?
       number      ___ ___ ___ ___                                           No
                                                                             Yes
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a) (_____)




      Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                  page __ of ___
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             Shoreview Apartments      LLC 05/23/25 Entered 05/23/25 23:00:26          Main     Document Pg 15 of
                                                                                            25-10567
  Debtor    _______________________________________________________   Case number (if known)_____________________________________
            Name                                                   24
 Part 2:    List All Creditors with NONPRIORITY Unsecured Claims

 3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
    unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                             Amount of claim

3.1 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.                           $________________________________
    ____________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
    ____________________________________________________________  Disputed
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                            No
    Last 4 digits of account number            ___ ___ ___ ___              Yes
3.2 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.                           $________________________________
    ____________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
    ____________________________________________________________  Disputed

    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                            No
    Last 4 digits of account number            ___ ___ ___ ___              Yes
3.3 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.                           $________________________________
    ____________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
    ____________________________________________________________  Disputed

    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                            No
    Last 4 digits of account number            ___ ___ ___ ___              Yes
3.4 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.                           $________________________________
    ____________________________________________________________
                                                                            Contingent
                                                                            Unliquidated
    ____________________________________________________________            Disputed
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                            No
    Last 4 digits of account number            ___ ___ ___ ___              Yes
3.5 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.                           $________________________________
    ____________________________________________________________
                                                                            Contingent
    ____________________________________________________________
                                                                            Unliquidated
                                                                            Disputed
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                            No
    Last 4 digits of account number            ___ ___ ___ ___              Yes
3.6 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.                           $________________________________
    ____________________________________________________________
                                                                  Contingent
    ____________________________________________________________
                                                                  Unliquidated
                                                                  Disputed
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                            No
    Last 4 digits of account number            ___ ___ ___ ___              Yes


    Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                              page __ of ___
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                           Apartments Filed
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                                                                                             25-10567
  Debtor    _______________________________________________________    Case number (if known)_____________________________________
            Name                                                   24
 Part 2:   Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                      Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.__ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                   Check all that apply.                           $________________________________
     ___________________________________________________________  Contingent
                                                                  Unliquidated
                                                                  Disputed
     ___________________________________________________________  Liquidated and neither contingent nor
     ___________________________________________________________       disputed

                                                                   Basis for the claim: ________________________

     Date or dates debt was incurred         ___________________   Is the claim subject to offset?
                                                                    No
     Last 4 digits of account number         ___ ___ ___ ___        Yes

3.__ Nonpriority creditor’s name and mailing address
                                                                   As of the petition filing date, the claim is:
                                                                   Check all that apply.                           $________________________________
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
     ___________________________________________________________  Disputed

     ___________________________________________________________
                                                                   Basis for the claim: ________________________

     Date or dates debt was incurred         ___________________   Is the claim subject to offset?
                                                                    No
     Last 4 digits of account number         ___ ___ ___ ___        Yes

3.__ Nonpriority creditor’s name and mailing address
                                                                   As of the petition filing date, the claim is:
                                                                   Check all that apply.                           $________________________________
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
     ___________________________________________________________  Disputed

     ___________________________________________________________
                                                                   Basis for the claim: ________________________

     Date or dates debt was incurred         ___________________   Is the claim subject to offset?
                                                                    No
     Last 4 digits of account number         ___ ___ ___ ___        Yes

3.__ Nonpriority creditor’s name and mailing address
                                                                   As of the petition filing date, the claim is:
                                                                   Check all that apply.                           $________________________________
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
     ___________________________________________________________  Disputed
     ___________________________________________________________
                                                                   Basis for the claim: ________________________

     Date or dates debt was incurred         ___________________   Is the claim subject to offset?
                                                                    No
     Last 4 digits of account number         ___ ___ ___ ___        Yes


3.__ Nonpriority creditor’s name and mailing address
                                                                   As of the petition filing date, the claim is:
                                                                   Check all that apply.                           $________________________________
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
     ___________________________________________________________  Disputed
     ___________________________________________________________
                                                                   Basis for the claim: ________________________

     Date or dates debt was incurred         ___________________   Is the claim subject to offset?
                                                                    No
     Last 4 digits of account number         ___ ___ ___ ___        Yes




   Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                          page __ of ___
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                 Shoreview Apartments LLC Filed 05/23/25 Entered 05/23/25 23:00:26         Main     Document Pg 17 of
                                                                                                25-10567
  Debtor        _______________________________________________________   Case number (if known)_____________________________________
                Name                                                   24
Part 3:              List Others to Be Notified About Unsecured Claims


4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
       assignees of claims listed above, and attorneys for unsecured creditors.
       If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.



            Name and mailing address                                                                           On which line in Part 1 or Part 2 is the   Last 4 digits of
                                                                                                               related creditor (if any) listed?          account number, if
                                                                                                                                                          any

4.1.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.2.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.3.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.4.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

41.                                                                                                            Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.5.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.6.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.7.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.8.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.9.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.10.                                                                                                          Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.11.
                                                                                                               Line _____

                                                                                                               
         ___________________________________________________________________________________________________
                                                                                                                   Not listed. Explain ________________   ___ ___ ___ ___
         _________________________________________________________________
                                                                                                                   _________________________________
         _________________________________________________________________




       Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                 page __ of ___
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                                                                                               25-10567
  Debtor       _______________________________________________________   Case number (if known)_____________________________________
               Name                                                   24
 Part 3:        Additional Page for Others to Be Notified About Unsecured Claims


          Name and mailing address                                                                           On which line in Part 1 or Part 2 is the   Last 4 digits of
                                                                                                             related creditor (if any) listed?          account number,
                                                                                                                                                        if any
4.__                                                                                                         Line _____
       ___________________________________________________________________________________________________

       _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__                                                                                                         Line _____
       ___________________________________________________________________________________________________

       _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__                                                                                                         Line _____
       ___________________________________________________________________________________________________

       _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__                                                                                                         Line _____
       ___________________________________________________________________________________________________

       _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__                                                                                                         Line _____
       ___________________________________________________________________________________________________

       _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__                                                                                                         Line _____
       ___________________________________________________________________________________________________

       _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__                                                                                                         Line _____
       ___________________________________________________________________________________________________

       _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__                                                                                                         Line _____
       ___________________________________________________________________________________________________

       _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__                                                                                                         Line _____
       ___________________________________________________________________________________________________

       _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__                                                                                                         Line _____
       ___________________________________________________________________________________________________

       _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__                                                                                                         Line _____
       ___________________________________________________________________________________________________

       _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__                                                                                                         Line _____
       ___________________________________________________________________________________________________

       _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__                                                                                                         Line _____
       ___________________________________________________________________________________________________

       _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__                                                                                                         Line _____
       ___________________________________________________________________________________________________

       _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________




       Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                               page _ of ___
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             ShoreviewDoc#10
                           Apartments Filed
                                          LLC05/23/25 Entered 05/23/25 23:00:26 Main             Document Pg 19 of
                                                                                             25-10567
 Debtor     _______________________________________________________    Case number (if known)_____________________________________
            Name                                                   24
Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims


5. Add the amounts of priority and nonpriority unsecured claims.




                                                                                                     Total of claim amounts



5a. Total claims from Part 1                                                               5a.
                                                                                                      0
                                                                                                     $_____________________________




5b. Total claims from Part 2                                                               5b.   +    0
                                                                                                     $_____________________________




5c. Total of Parts 1 and 2
                                                                                           5c.
                                                                                                      0
                                                                                                     $_____________________________
   Lines 5a + 5b = 5c.




   Official Form 206E/F                     Schedule E/F: Creditors Who Have Unsecured Claims                                 page __ of ___
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                                               24
 Fill in this information to identify the case:

                Shoreview Apartments LLC
 Debtor name __________________________________________________________________

                                         Western
 United States Bankruptcy Court for the:______________________ District of    Texas
                                                                              _______
                                                                             (State)
 Case number (If known):     25-10567
                            _________________________               Chapter _____



                                                                                                                                       Check if this is an
                                                                                                                                          amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                 12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1. Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
        Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
       Form 206A/B).
 2. List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease


         State what the contract or       ____________________________________            _________________________________________________________
 2.1     lease is for and the nature
         of the debtor’s interest         ____________________________________           _________________________________________________________
                                                                                          _________________________________________________________
         State the term remaining        ____________________________________
                                                                                          _________________________________________________________
         List the contract number of
         any government contract         ____________________________________            _________________________________________________________


         State what the contract or       ____________________________________            _________________________________________________________
 2.2     lease is for and the nature
         of the debtor’s interest         ____________________________________           _________________________________________________________
                                                                                          _________________________________________________________
         State the term remaining        ____________________________________
                                                                                          _________________________________________________________
         List the contract number of
         any government contract         ____________________________________            _________________________________________________________


         State what the contract or       ____________________________________            _________________________________________________________
 2.3     lease is for and the nature
         of the debtor’s interest         ____________________________________           _________________________________________________________
                                                                                          _________________________________________________________
         State the term remaining        ____________________________________
                                                                                          _________________________________________________________
         List the contract number of
         any government contract         ____________________________________            _________________________________________________________


         State what the contract or       ____________________________________            _________________________________________________________
 2.4
         lease is for and the nature
         of the debtor’s interest         ____________________________________           _________________________________________________________
                                                                                          _________________________________________________________
         State the term remaining        ____________________________________
                                                                                          _________________________________________________________
         List the contract number of
         any government contract         ____________________________________            _________________________________________________________


         State what the contract or       ____________________________________            _________________________________________________________
 2.5     lease is for and the nature
         of the debtor’s interest         ____________________________________           _________________________________________________________
                                                                                          _________________________________________________________
         State the term remaining        ____________________________________
                                                                                          _________________________________________________________
         List the contract number of
         any government contract         ____________________________________            _________________________________________________________




Official Form 206G                          Schedule G: Executory Contracts and Unexpired Leases                                            page 1 of ___
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                                               24
Debtor          Shoreview Apartments LLC
               _______________________________________________________                                      25-10567
                                                                                      Case number (if known)_____________________________________
               Name




          Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

       List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired lease


         State what the contract or    ____________________________________     _________________________________________________________
 2._     lease is for and the nature
         of the debtor’s interest      ____________________________________     _________________________________________________________
                                                                                _________________________________________________________
         State the term remaining      ____________________________________
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________



         State what the contract or    ____________________________________     _________________________________________________________
 2._     lease is for and the nature
         of the debtor’s interest      ____________________________________     _________________________________________________________
                                                                                _________________________________________________________
         State the term remaining      ____________________________________
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________



         State what the contract or    ____________________________________     _________________________________________________________
 2._     lease is for and the nature
         of the debtor’s interest      ____________________________________     _________________________________________________________
                                                                                _________________________________________________________
         State the term remaining      ____________________________________
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________


         State what the contract or    ____________________________________     _________________________________________________________
 2._     lease is for and the nature
         of the debtor’s interest      ____________________________________     _________________________________________________________
                                                                                _________________________________________________________
         State the term remaining      ____________________________________
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________



         State what the contract or    ____________________________________     _________________________________________________________
 2._     lease is for and the nature
         of the debtor’s interest      ____________________________________     _________________________________________________________
                                                                                _________________________________________________________
         State the term remaining      ____________________________________
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________


         State what the contract or    ____________________________________     _________________________________________________________
 2._     lease is for and the nature
         of the debtor’s interest      ____________________________________     _________________________________________________________
                                                                                _________________________________________________________
         State the term remaining      ____________________________________
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________


         State what the contract or    ____________________________________     _________________________________________________________
 2._     lease is for and the nature
         of the debtor’s interest      ____________________________________     _________________________________________________________
                                                                                _________________________________________________________
         State the term remaining      ____________________________________
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________



 Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                                    page ___ of ___
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                                               24
 Fill in this information to identify the case:


                 SHOREVIEW APARTMENTS LLC
 Debtor name __________________________________________________________________

                                         WESTERN
 United States Bankruptcy Court for the:_______________________             TEXAS
                                                                District of ________
                                                                                (State)
 Case number (If known):     25-10567
                            _________________________




                                                                                                                                          Check if this is an
                                                                                                                                             amended filing
Official Form 206H
Schedule H: Codebtors                                                                                                                                    12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach
the Additional Page to this page.


 1. Does the debtor have any codebtors?
        No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
        Yes
 2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
       creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
       schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

        Column 1: Codebtor                                                                                Column 2: Creditor

                                                                                                                                             Check all schedules
            Name                      Mailing address                                                     Name
                                                                                                                                             that apply:

 2.1     PLF SHOREVIEW
         _____________________        9050 N. CAPITAL TEXAS HWY 320
                                      ________________________________________________________             PMRP V HOLDINGS LLC  D                                 
                                                                                                           _____________________
                                      Street                                                                                                 E/F
          MEZZ LLC                                                                                                                            G
                                      ________________________________________________________
                                       AUSTIN, TX 78759
                                      ________________________________________________________
                                      City                        State               ZIP Code

                                                                                                                                                                   
 2.2     MDW SHOREVIEW
         _____________________        9050 N. CAPITAL TEXAS HWY 320
                                      ________________________________________________________             PMRP V HOLDINGS LLC
                                                                                                           _____________________              D
          MEZZLLC
                                      Street                                                                                                 E/F
                                      ________________________________________________________                                                G
                                       AUSTIN, TX 78759
                                      ________________________________________________________
                                      City                        State               ZIP Code
                                                                                                                                                                   
 2.3    MEISHA      WILSON ________________________________________________________
         _____________________ 1813 MANATEE AVE WEST                                                       PMRP V HOLDINGS LLC  D
                                                                                                           _____________________
                                      Street                                                                                                 E/F
                                      ________________________________________________________                                                G
                                       BRADENTON, FL 34205
                                      ________________________________________________________
                                      City                        State               ZIP Code
                                                                                                                                                                   
 2.4     PAUL FEIKEMA &
         _____________________        8820 17TH AVENUE CIRCLE NW
                                      ________________________________________________________             PMRP V HOLDINGS LLC  D
                                                                                                           _____________________
          LAUREN FEIKEMA              Street                                                                                                 E/F
                                      ________________________________________________________                                                G
                                       BRADENTON, FL 34209
                                      ________________________________________________________
                                      City                        State               ZIP Code
                                                                                                                                                                   
 2.5      RYAN WEBSTER
         _____________________
                                       1570 INDIAN CREEK RD MARION, IA 52302
                                      ________________________________________________________             PMRP V HOLDINGS LLC                D
                                                                                                           _____________________
                                      Street                                                                                                 E/F
                                      ________________________________________________________                                                G
                                       MARION, IA 52302
                                      ________________________________________________________
                                      City                        State               ZIP Code
                                                                                                                                                                   
 2.6     COLIN KILGORE
         _____________________        3001 RR 620 S STE 324
                                      ________________________________________________________             PMRP V HOLDINGS LLC  D
                                                                                                           _____________________
                                      Street                                                                                                 E/F
                                      ________________________________________________________                                                G
                                       AUSTIN,TX 78738
                                      ________________________________________________________
                                      City                        State               ZIP Code




Official Form 206H                                               Schedule H: Codebtors                                                         page 1 of ___
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             SHOREVIEW APARTMENTS LLC           24                     25-10567
Debtor         _______________________________________________________                Case number (if known)_____________________________________
               Name




            Additional Page if Debtor Has More Codebtors


           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                                   Column 2: Creditor

                                                                                                                             Check all schedules
            Name                  Mailing address                                            Name
                                                                                                                             that apply:
                                                                                                                                                    
 2.__     JUSTIN HOBSON
          _____________________   3001 RR 620 S STE 324
                                  ________________________________________________________    PMRP V HOLDINGS LLC D
                                                                                              _____________________
                                  Street                                                                                     E/F
                                  ________________________________________________________                                    G
                                   AUSTIN,TX 78738
                                  ________________________________________________________
                                  City                     State           ZIP Code

                                                                                                                                                    
 2.__     WARREN DRESNER ________________________________________________________
          _____________________ 1570 INDIAN CREEK RD MARION, IA 52302                         PMRP V HOLDINGS LLC D
                                                                                              _____________________
                                  Street                                                                                     E/F
                                  ________________________________________________________                                    G

                                  ________________________________________________________
                                  City                     State           ZIP Code

                                                                                                                                                    
 2.__
          _____________________   ________________________________________________________    _____________________           D
                                  Street                                                                                     E/F
                                  ________________________________________________________                                    G

                                  ________________________________________________________
                                  City                     State           ZIP Code

                                                                                                                                                    
 2.__
          _____________________   ________________________________________________________    _____________________           D
                                  Street                                                                                     E/F
                                  ________________________________________________________                                    G

                                  ________________________________________________________
                                  City                     State           ZIP Code
                                                                                                                                                    
 2.__
          _____________________   ________________________________________________________    _____________________           D
                                  Street                                                                                     E/F
                                  ________________________________________________________                                    G

                                  ________________________________________________________
                                  City                     State           ZIP Code

                                                                                                                                                    
 2.__
          _____________________   ________________________________________________________    _____________________           D
                                  Street                                                                                     E/F
                                  ________________________________________________________                                    G

                                  ________________________________________________________
                                  City                     State           ZIP Code

                                                                                                                                                    
 2.__
          _____________________   ________________________________________________________    _____________________           D
                                  Street                                                                                     E/F
                                  ________________________________________________________                                    G

                                  ________________________________________________________
                                  City                     State           ZIP Code

                                                                                                                                                    
 2.__
          _____________________   ________________________________________________________    _____________________           D
                                  Street                                                                                     E/F
                                  ________________________________________________________                                    G

                                  ________________________________________________________
                                  City                     State           ZIP Code




 Official Form 206H                                    Schedule H: Codebtors                                                     page ___ of ___
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                                             24
 Fill in this information to identify the case and this filing:


                   Shoreview Apartments LLC
 Debtor Name __________________________________________________________________
                                               Western
 United States Bankruptcy Court for the: ______________________              Texas
                                                                District of __________
                                                                               (State)
 Case number (If known):        25-20567
                            _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


         
         X Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

         
         X Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

         
         X Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

         
         X Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         
         X Schedule H: Codebtors (Official Form 206H)

         
         X Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

          Amended Schedule ____

          Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

          Other document that requires a declaration__________________________________________________________________________________



        I declare under penalty of perjury that the foregoing is true and correct.


                    05/23/2025
        Executed on ______________                            _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                  Monte Lee-Wen
                                                                ________________________________________________________________________
                                                                Printed name

                                                                ____Manager_________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
